      Douglas R. Ricks, OSB #044026
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      Portland, OR 97204
      Telephone: 503-241-4869
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               Of Attorneys for Sunshine Dairy Foods Management, LLC
               Debtors-in-Possession

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      Portland, OR 97204
      Telephone: (503) 417-0508
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               Of Attorneys for Karamanos Holdings, Inc.,
               Debtor-in-Possession


                            IN THE UNITED STATES BANKRUPTCY COURT

                                    FOR THE DISTRICT OF OREGON

       In re                                                Bankruptcy Case Nos.

       Sunshine Dairy Foods Management, LLC                 18-31644-pcm11 (Lead Case)
       and
       Karamanos Holdings, Inc.,                            18-31646-pcm11

                                                            DEBTOR'S MOTION TO ASSUME
                                                            AND ASSIGN EXECUTORY
                                                            CONTRACTS AND DETERMINE
                      Debtors-in-Possession.                CURE AMOUNTS

               Debtor-in-Possession, Sunshine Dairy Foods Management, LLC (“Sunshine” or

      “Debtor”), requests entry of an order (1) authorizing Debtor to assume and assign the

      executory contracts and unexpired leases set forth on the attached Exhibit A (the

      “Contracts”) and for a determination of the cure amounts on such Contracts, and (2)



Page 1 of 8    DEBTOR'S MOTION TO ASSUME AND ASSIGN EXECUTORY                      VANDEN BOS & CHAPMAN, LLP
                                                                                              Attorneys at Law
               CONTRACTS AND DETERMINE CURE AMOUNTS                                  319 SW Washington Street, Suite 520
                                                                                        Portland, Oregon 97204-2690
                                                                                               (503) 241-4869

                          Case 18-31644-pcm11      Doc 418     Filed 08/24/18
      establishing a notice procedure for the assumption and assignment of additional executory

      contracts and unexpired leases (“Additional Contracts”) and a determination of the cure

      amounts on such Additional Contracts. In support of this Motion, Debtor represents as

      follows:

              1.   On May 9, 2018 (the “Petition Date”), Sunshine filed voluntary a petition under

      Chapter 11 of the United States Bankruptcy Code.

              2.   Pursuant to Sections 1107 and 1108 of the Code, Sunshine is continuing in

      possession of its property and is operating and managing Sunshine's business as a debtor-

      in-possession.

              3.   The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334(b)

      and the standing order of reference of the District Court. This matter is a core proceeding

      pursuant to 28 U.S.C. § 157(b). Venue is proper under 28 U.S.C. §§ 1408 and 1409.

              4.   Sunshine seeks authority to assume and assign the Contracts and a

      determination on cure amounts for such Contracts as set forth on the attached Exhibit A

      and to establish a notice procedure for the assumption, assignment, and cure cost

      determination with respect to any Additional Contracts.

              5.   The assumption and assignment of the Contracts at this time on the terms

      stated below, and the establishment of notice procedures with respect to any Additional

      Contracts, are appropriate and in the best interests of Sunshine's estate.

              6.   Pursuant to Code Sections 365 and 105, Debtor requests authority to assume

      and assign the Contracts and any Additional Contracts pursuant to terms of the proposed

      Order to be submitted by Debtor.




Page 2 of 8   DEBTOR'S MOTION TO ASSUME AND ASSIGN EXECUTORY                       VANDEN BOS & CHAPMAN, LLP
                                                                                              Attorneys at Law
              CONTRACTS AND DETERMINE CURE AMOUNTS                                   319 SW Washington Street, Suite 520
                                                                                        Portland, Oregon 97204-2690
                                                                                               (503) 241-4869

                         Case 18-31644-pcm11       Doc 418      Filed 08/24/18
                                              BACKGROUND

              7.    On the Petition Date, Sunshine and Karamanos Holdings, Inc. (“KHI”)

      (collectively “Debtors”) filed two (2) voluntary petitions for relief under Chapter 11 of the

      Bankruptcy Code. KHI manages Sunshine and related properties as debtors-in-possession

      pursuant to §§1107(a) of the Bankruptcy Code. No request for appointment of an examiner

      has been made, no request to remove Debtors as debtors-in-possession has been made,

      and no committees have been appointed or designated.

              8.    KHI owns 94% of the outstanding membership interest of Sunshine. KHI also

      owns Sunshine Dairy Enterprises, Inc. (“SDE”). SDE owns the remaining 6% of Sunshine’s

      outstanding membership interest.

              9.    Sunshine is a limited liability company headquartered in Portland, Multnomah

      County, Oregon. KHI is an Oregon corporation headquartered in Portland, Multnomah

      County, Oregon. Debtors are in the business of manufacturing, packaging, and distributing

      dairy, non-dairy, and other related food products throughout the United States of America.

      The Debtors are the successors to the dairy delivery business founded in 1935 by John

      Karamanos.

              10.   Debtors have executed an Asset Purchase Agreement with Lyrical Foods, Inc.

      (“Lyrical”) dated August 10, 2018 (the “APA”) for the sale of certain assets to Lyrical (as

      defined in the APA, the “Acquired Assets”).

              11.   On August 24, 2018, the Bankruptcy Court granted the Joint Motion for

      Approval of Bidding Procedures, Overbid Protection, Break Up Fee, and Form and Manner

      of Notice of Sale (an Order forthcoming together with the Bidding Procedures attached

      thereto, the "Bid Procedures Order").



Page 3 of 8   DEBTOR'S MOTION TO ASSUME AND ASSIGN EXECUTORY                        VANDEN BOS & CHAPMAN, LLP
                                                                                               Attorneys at Law
              CONTRACTS AND DETERMINE CURE AMOUNTS                                    319 SW Washington Street, Suite 520
                                                                                         Portland, Oregon 97204-2690
                                                                                                (503) 241-4869

                          Case 18-31644-pcm11        Doc 418    Filed 08/24/18
              12.   On August 21, 2018, Debtors served a Notice of Intent to Sell Property,

      Compensate Broker, and/or Pay any Secured Creditor's Fees and Costs; Motion for

      Authority to Sell Property Free and Clear of Liens; and Notice of Hearing ("Sale Notice”) and

      a Notice of Intent to Assume and Assign Executory Contracts and Determine Cure

      Amounts; Notice of Hearing Thereon (“Assumption Notice”). In accordance with the Sale

      Notice, Assumption Notice, APA, and Bid Procedures Order, Debtors intend to seek

      approval of a sale of the Acquired Assets to Lyrical or such other bidder as may be the

      Successful Bidder (as defined in the Bid Procedures Order) before the Court on September

      17, 2018.

              13.   Sunshine intends to assume and assign (a) to Lyrical those Contracts

      identified on Exhibit B to the APA (and also attached hereto as Exhibit B), as may be

      modified in accordance with the terms of the APA (including the addition of any other

      Contracts and/or Additional Contracts), or (b) to the Successful Bidder those Contracts and

      Additional Contracts that the Successful Bidder identifies in its bid, as may be modified by

      that bidder at any auction held pursuant to the Sale Notice and Bid Procedures Order.

      Debtor seeks to an order on this Motion considered at a hearing before the Court on

      September 17, 2018 in conjunction with the hearing on the sale of the Acquired Assets set

      forth in the Sale Notice.

                           CONTRACTS TO BE ASSUMED AND ASSIGNED

              14.   Exhibit A lists, with respect to each Contract or Additional Contract, the

      amounts that the Debtor has determined will be, as of the closing date of the sale to Lyrical

      or other Successful Bidder, as the case may be, the amounts necessary to be paid by the

      Debtor pursuant to Section 365 of the Bankruptcy Code in order to cure any existing


Page 4 of 8   DEBTOR'S MOTION TO ASSUME AND ASSIGN EXECUTORY                      VANDEN BOS & CHAPMAN, LLP
                                                                                             Attorneys at Law
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                                                                                       Portland, Oregon 97204-2690
                                                                                              (503) 241-4869

                         Case 18-31644-pcm11        Doc 418    Filed 08/24/18
      breaches and default in accordance with Sections 365(b) and 365(f)(2) of the Bankruptcy

      Code or to provide any adequate assurance of future performance required under Section

      365(b)(1)(C) of the Bankruptcy Code and assume and assign such Contract to Lyrical or the

      Successful Bidder (the “Cure Amount”).

              15.   The deadline for any counterparty to any Contract to object to the assumption

      and assignment of its respective Contract or to the Cure Amount set forth on Exhibit A shall

      be September 11, 2018 (the “Contract Objection Deadline”).

              16.   On September 6, 2018, additional parties may seek to become "Qualified

      Bidders" and submit "Qualified Bids" to the Debtors as those terms are defined in the Bid

      Procedures Order. One of the requirements of a Qualified Bid is that the Qualified Bidder

      submit a complete list of executory contracts and unexpired leases to be assumed and

      assigned in accordance with its proposed bid.

              17.   On September 7, 2018, Debtor will notify all executory contract counterparties

      of the intent of each other Qualified Bidder with respect to the assumption and assignment

      of Contracts and any Additional Contracts. Any counterparty to any Additional Contract that

      the Debtor seeks to assume and assign, including any Additional Contract designated by

      Lyrical pursuant to the terms of the APA, will have until the date that is fourteen (14) days

      from the date of the sending of notice of the Debtor’s intent to assume and assign such

      Additional Contract (which notice shall include the proposed Cure Amount with respect

      thereto) to object to the assumption and assignment or proposed Cure Amount with respect

      to such Additional Contract (the “Additional Contract Objection Deadline,” and together with

      the Contract Objection Deadline, the “Objection Deadline”).




Page 5 of 8   DEBTOR'S MOTION TO ASSUME AND ASSIGN EXECUTORY                      VANDEN BOS & CHAPMAN, LLP
                                                                                             Attorneys at Law
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                                                                                       Portland, Oregon 97204-2690
                                                                                              (503) 241-4869

                         Case 18-31644-pcm11        Doc 418    Filed 08/24/18
              18.   A final determination of which Contracts and Additional Contracts will be

      assumed and assigned to the Successful Bidder will be made at the conclusion of the

      bidding process on September 13, 2018. Debtor intends to reject any executory contracts

      that are not assigned to the purchaser of the assets.

                                         RELIEF REQUESTED

              19.   Any objection by a counterparty to a Contract or Additional Contract must be

      filed and served upon the Debtor by the applicable Objection Deadline and must specify the

      grounds for such objection, including stating the alleged cure amount (including, on a

      transaction by transaction basis, calculations and detail of specific charges and dates, and

      any other amounts receivable or payable supporting such alleged cure amount) if the

      counterparty disagrees with the proposed Cure Amount and any other defaults or

      termination events that the counterparty alleges must be cured to effect assumption and

      assignment of such Contract or Additional Contract.

              20.   Unless a counterparty or any other entity properly and timely files an objection

      to the assumption of its Contract or Additional Contract by the applicable Objection

      Deadline, the Debtor may assume and assign such Contract or Additional Contract in

      accordance with the provisions of the APA and this Motion, subject to the occurrence of the

      closing, without further order or notice of hearing, subject only to the payment of the Cure

      Costs (as set forth in the APA or any other purchase agreement approved by the Court, as

      applicable). If an objection is filed and served by the applicable Objection Deadline, and the

      objection cannot be resolved consensually, then the objection shall be heard at the sale

      hearing or, with respect to any Additional Contract for which the Objection Deadline has not




Page 6 of 8   DEBTOR'S MOTION TO ASSUME AND ASSIGN EXECUTORY                      VANDEN BOS & CHAPMAN, LLP
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      expired prior to the sale hearing and as to which the objector requires additional time before

      a hearing, such other date as the Court may determine.

              21.   The Debtor requests that unless a counterparty files an objection to this

      Motion or any subsequent notice with respect to an Additional Contract asserting a claim for

      any amounts due and owing under an executory contract and/or unexpired lease in an

      amount different than the Cure Amount referenced in this Motion or such subsequent notice

      with respect to an Additional Contract (the “Disputed Cure Amount”) by the applicable

      Objection Deadline, such counterparty to the applicable Contract or Additional Contract

      shall be forever barred from asserting a Cure Amount different from that set forth in this

      Motion or such subsequent notice and from asserting any additional cure or other amounts

      with respect to its Contract or Additional Contract, relating to the period prior to assignment.

              22.   Pursuant to the Bid Procedures Order, the second or otherwise best qualified

      bid submitted by the bid deadline as modified by a that bidder at the auction, shall remain

      open and irrevocable through the consummation of the final agreements and closing of the

      sale with the Successful Bidder. The Debtor intends to seek a conditional order approving

      the assumption and assignment of executory contracts to the Successful Bidder. To the

      extent the Successful Bidder fails to close then the conditional order will provide that the

      executory contracts identified by the second highest or otherwise best qualified bidder shall

      be those contracts which shall be assumed and assigned to the second highest bidder.

              23.   Sunshine asserts that assumption and assignment of the Contracts and

      adoption of the notice procedures described herein with respect to Additional Contracts at

      this time is appropriate and in the best interest of its estate.




Page 7 of 8   DEBTOR'S MOTION TO ASSUME AND ASSIGN EXECUTORY                       VANDEN BOS & CHAPMAN, LLP
                                                                                              Attorneys at Law
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                                                                                        Portland, Oregon 97204-2690
                                                                                               (503) 241-4869

                          Case 18-31644-pcm11        Doc 418     Filed 08/24/18
              24.   Debtor requests that the 14-day stay provided by Bankruptcy Rule 6006(d) be

      waived.

              WHEREFORE, the Sunshine requests an order authorizing Sunshine's assumption

      and assignment of the Contracts as described on Exhibit A and implementing notice

      procedures with respect to Additional Contracts and pursuant to the proposed Order to be

      submitted by the Debtor, and for such further relief as the Court deems just and proper.

                                              VANDEN BOS & CHAPMAN, LLP



                                              By:/s/Douglas R. Ricks
                                                Douglas R. Ricks, OSB #044026
                                                Of Attorneys for Debtor-in-Possession
                                                Sunshine Dairy Foods Management, LLC




Page 8 of 8   DEBTOR'S MOTION TO ASSUME AND ASSIGN EXECUTORY                    VANDEN BOS & CHAPMAN, LLP
                                                                                           Attorneys at Law
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                                                                                     Portland, Oregon 97204-2690
                                                                                            (503) 241-4869

                        Case 18-31644-pcm11       Doc 418    Filed 08/24/18
                                                                                                      Assumed Executory Contracts




                                   NO.        Name of Contracting Party                                      Title                                Date Entered Into   Cure Amounts
                                    1 ADS Group                                 Lease assigned from Balboa Capital Corporation -UCC                                       $0.00
                                       PO Box 15270                             #91069271; Balboa Acct No. 214006-005 - Lease of 4 Trailers;
                                       Irvine, CA 92623                         Quarterly Payments of $8785.35
                                                                                5 Qtrly Payments
                                    2   AR Arena Products, Inc.                 Totes for East Plan                                                                    $21,715.15




Exhibit A - Page 1 of 3
                                        2101 Mt. Read Blvd
                                        Rochester, NY 14615
                                    3   Balboa Captial Corp                     Alternate Address - Leases serviced through Elm Services, ADS
                                        575 Anton Blvd 12th Floor               Group and Hanmi Bank (assigned to Banc of California)
                                        Costa Mesa, CA 92626
                                    4   Hanmi Bank                              UCC #90963365;Agreement #10-013357/9-BRO-1197 8 dated                                   $3,123.15
                                        Assigned Claim Bank of California, NA   8/25/16; Lease of (10) Microsoft Dynamics-NAV/JustFoo dERP-
                                        3660 Wilshire Blvd.                     10 Full Users; (0.198) 24% (possible duplicate of UCC 90963776)




             Case 18-31644-pcm11
                                        Los Angeles, CA 91001

                                    5   Hanmi Bank                              UCC #90963776; Agreement #10-013357/9-BRO-1197 8 dated                                   $0.00
                                        Assigned Claim Bank of California, NA   8/25/16; Lease of (10) Microsoft Dynamics-NAV/JustFoo dERP-
                                        3660 Wilshire Blvd.                     10 Full Users; (0.198) 24% Enhancement




             Doc 418
                                        Los Angeles, CA 91001

                                    6   Columbia Oregon 98th Ave                DC Lease                                                                               $22,047.95
                                         Industrial LLC
                                        PO Box 848138-076
                                        Dallas, TX 75284


                                    7   Elm Services                            Lease assigned from Balboa Capital Corporation - UCC                                   $19,985.90




             Filed 08/24/18
                                        PO Box 15270                            #90451311; Balboa Acct No. 214006-001 - Lease of East Plant
                                        Irvine, CA 92623                        Filler; 2 Quarterly payments of $8,223/Qtr 2 Qtrly Payments

                                    8   Elm Services                            Lease assigned from Balboa Capital Corporation - UCC                                   $25,057.97
                                        PO Box 15270                            #90548548; Balboa Acct No. 214006-002 -Lease of A&E Case
                                        Irvine, CA 92623                        Erector + Taper; Quarterly payments of$11,122.03 - 7 Qtrly
                                                                                Payments
                                    9   Gerber Products Company                                          Supply Agreement                         December 1, 2009



                                                                                                                                                                                     8/24/2018
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                                                                                                     Assumed Executory Contracts


                                   10   J&D                                      Storage Agreement -Off Site Cold Storage                                               $5,306.36
                                        12300 SE Carpenter Dr.
                                        Clackamas, OR 97015
                                   11   Local No. 305 (Teamsters, Dairy,                             Plant and Drive Agreement                        March 1, 2014       $0.00
                                        Bakekry & Food Processors, Industrial,
                                        Technical & Automotive)




Exhibit A - Page 2 of 3
                                   12   Local No. 305 (Teamsters, Dairy,                                  Labor Agreement                           September 1, 2016     $0.00
                                        Bakekry & Food Processors, Industrial,
                                        Technical & Automotive)


                                   13   McKinney Trailer Rentals                 Contract #45610 Unit#538961 - Lease of 53ft Reefer Roll;                               $7,179.87
                                        12008 Inverness Dr                       $.05/mile, $950/mth Expires 8/31/18
                                        Portland, OR 97220




             Case 18-31644-pcm11
                                   14   McKinney Trailer Rentals                 Unit #53963; lease of 53ft Reefer Roll - Expires 8/1/18
                                        12008 Inverness Dr
                                        Portland, OR 97220
                                   15   McKinney Trailer Rentals                 Unit #541560 Contract #42981 Rental of 53ft Van 102 in Swing;
                                        12008 Inverness Dr                       $200/week




             Doc 418
                                        Portland, OR 97220
                                   16   McKinney Trailer Rentals                 Contract #48675 Unit #532239 - Rental of 53ft Reefer Roll;
                                        12008 Inverness Dr                       $.06/mile$1,250/mth
                                        Portland, OR 97220
                                   17   Pacific Office Automation                Service contract on Printers                                                           $1,072.04
                                        14747 NW Greenbrier Parkway
                                        Beaverton, OR 97006




             Filed 08/24/18
                                   18   Pacific Office Automation                Service contract on Printers; $2,300 per month - 60 month terms,                       $2,789.35
                                        PO Box 51043                             starting: 2/14
                                        Los Angeles, CA 90051
                                   19   Peak                                     Supply Agreement



                                   20   Penske Truck Leasing Company LP          TruckFleet Rentals -See Exhibit I for details                                          $62,235.75
                                        PO Box 7429
                                        Pasadena, CA 91110-7429
                                   21   Reser's                                  Supply Agreement
                                                                                                                                                                                     8/24/2018
                                                                                                                                                                                       5:31 PM
                                                                                               Assumed Executory Contracts


                                   22   Ripple Foods, Inc.                                       Co-Packing Agreement                            September 15, 2017,
                                                                                                                                                    as amended

                                   23   Strada Capital Corporation         Equipment Agreement                                                                         $10,150.20
                                        23046 Avenida De La Carlota #350
                                        Laguna Hills, CA 92653
                                   24   Summit Funding Group, Inc.         Lease of MilkoScan Mars system - UCC 90718706; Monthly                                       $670.63
                                        Lease Administration Group         payments of $737.69 - Expires 6/1/2021




Exhibit A - Page 3 of 3
                                        PO Box 63-6488
                                        Cincinnati, OH 45263
                                   25   SVZ-USA, Inc.                      Contract for strawberry puree. 1507954 -Organic Strawberry
                                        c/o Jonathan Edwards               Puree
                                        Earl Law Group PLLC                Packaging -aseptic, cartons, 44 lb. fill; Volume -22,000 lbs./month
                                        1334 S Pioneer Way                 -264,000 lbs/year - Validity dates-11/1/2017 -10/31/2018; Price -
                                        Moses Lake, WA 98837               $1.38/lb., FOB Othello, WA
                                   26   TCF Equipment Finance              Lease assigned from Balboa Capital Corporation - UCC                                        $10,522.63




             Case 18-31644-pcm11
                                        11100 Wayzata Blvd #801            #91069288; Balboa Acct No. 214006-006 -Lease of handhelds
                                        Hopkins, MN 55305                  and printers; no payments due in 2018 Ends with Q1 2019
                                                                           payment
                                   27   US Bank Equipment Finance          Autoclave Table Top                                                                          $612.40
                                        PO Box 790448




             Doc 418
                                        Saint Louis, MO 63179
                                   28   Wymore Transfer Company aka Wy-5   Storage Agreement -Off Site Cold Storage                                                    $8,258.70
                                        12061 SE Hwy 212
                                        Clackamas, OR 97015

                                   29   Wymore Transfer Company, Inc.      Storage Agreement -Off Site Cold Storage
                                        12651 SE Capps Rd




             Filed 08/24/18
                                        Clackamas, OR 97015




                                                                                                                                                                                    8/24/2018
                                                                                                                                                                                      5:31 PM
                                                EXHIBIT B

                                      Assumed Executory Contracts



    Name of Contracting Party                   Title               Date Entered Into      Cure Amounts

Gerber Products Company                  Supply Agreement           December 1, 2009          $0.00


Ripple Foods, Inc.                     Co-Packing Agreement       September 15, 2017, as      $0.00
                                                                        amended

Local No. 305 (Teamsters, Dairy,      Plant and Drive Agreement       March 1, 2014           $0.00
Bakekry & Food Processors,
Industrial, Technical & Automotive)


Local No. 305 (Teamsters, Dairy,          Labor Agreement           September 1, 2016         $0.00
Bakekry & Food Processors,
Industrial, Technical & Automotive)




Exhibit B - Page 1 of 1                                                                           8/24/2018
                             Case 18-31644-pcm11         Doc 418      Filed 08/24/18
In re Sunshine Dairy Foods Management, LLC
Ch 11 Bankruptcy Case No. 18-31644-pcm11(Lead Case)
In re Karamanos Holdings, Inc.;
Ch 11 Bankruptcy Case No. 18-31646-pcm11

                                   CERTIFICATE - TRUE COPY

DATE:               August 24, 2018

DOCUMENT:          DEBTOR'S MOTION TO ASSUME AND ASSIGN EXECUTORY
                   CONTRACTS AND DETERMINE CURE AMOUNTS

       I hereby certify that I prepared the foregoing copy of the foregoing named
document and have carefully compared the same with the original thereof and it is a
correct copy therefrom and of the whole thereof.

                                    CERTIFICATE OF SERVICE

        I hereby certify that I served a copy of the foregoing on:
 See Attached List. (The original Service List is attached to the
 original copy filed with the Court only. Creditors may request
 a copy of the Service List by contacting the undersigned.)

by mailing a copy of the above-named document to each of them in a sealed envelope,
addressed to each of them at his or her last known address. Said envelopes were
deposited in the Post Office at Portland, Oregon, on the above date, postage prepaid.

      I hereby certify that the foregoing was served on all CM/ECF participants through
the Court's Case Management/Electronic Case File system on the date set forth below.

        Dated: August 24, 2018

                                               VANDEN BOS & CHAPMAN, LLP



                                               By:/s/Douglas R. Ricks
                                                 Douglas R. Ricks, OSB #044026
                                                 Of Attorneys for Debtor-in-Possession
                                                 Sunshine Dairy Foods Management, LLC




Page 1 – CERTIFICATE OF SERVICE


                       Case 18-31644-pcm11            Doc 418       Filed 08/24/18
In re Sunshine Dairy Foods Management, LLC;
Bankruptcy Case No. 18-31644-pcm11 (Lead Case);
In re Karamanos Holdings, Inc.;
Bankruptcy Case No. 18-31646-pcm11
Service List

Debtors:                                First Business Capital Corp.        Multnomah Assessment &
                                        401 Charmany Dr.                    Taxation
Sunshine Dairy Foods Management, LLC    Madison, WI 53719                   501 SE Hawthorne,1st Floor
Attn: Norman Davidson, III                                                  P.O. Box 5007
801 NE 21st Ave.                        First Business Capital Corp.        Portland, OR 97208
Portland, OR 97232                      c/o Chuck Batson, President & CEO
                                        401 Charmany Dr                     Multnomah County Tax Assessor
Karamanos Holdings, Inc.                Madison, Wi 53719                   Attn Angelika Loomis, Agent
Attn: Norman Davidson, III                                                  PO Box 2716
801 NE 21st Ave.                        First Business Capital Corp.        Portland, OR 97208-2716
Portland, OR 97232                      c/o Albert N. Kennedy               VIA EMAIL: dartcs@multco.us
                                        Tonkon Torp LLP
Unsecured Creditors Committee:          888 SW 5th Ave Ste 1600             Toyota Motor Credit Corporation
                                        Portland OR 97204                   PO Box 5855
Valley Falls Farm, LLC                                                      Carol Stream, Il 60197
c/o Bryan P. Coluccio, V.P./            First Business Capital Corp.
General Counsel                         c/o Michael Fletcher                Toyota Motor Credit Corp
Keystone-Pacific, LLC                   Tonkon Torp LLP                     6565 Headquarters Dr.
18555 SW Teton Avenue                   888 SW 5th Ave Ste 1600             Plano, TX 75024
Tualatin, OR 97062                      Portland OR 97204
                                                                            Toyota Motor Credit Corporation
High Desert Milk                        Ford Motor Credit Company            c/o CT Corporation System, RA
c/o Steven Tarbet, CFO                  PO Box 552679                       780 Commercial St SE Ste 100
1033 Idaho Avenue                       Detroit, Mi 48255                   Salem, OR 97301
Burley, ID 83318
                                        Ford Motor Credit Company LLC       Initial Bidder:
Electric Inc.                           c/o CT Corp. System, RA
c/o Christopher C. Winston, President   780 Commercial St SE Ste 100        Bill Warren
P.O. Box 820386                         Salem, OR 97301                     Wilmer Hale
Vancouver, WA 98682                                                         7 World Trade Center
                                        Ford Motor Credit Company           250 Greenwich Street
Ernest Packaging Solutions              c/o McCarthy Holthus                New York, NY 10007 USA
c/o Jennifer Delgadillo                 PO Box 552679
Director of Corp. Credit                Detroit, MI 48255                   IRS:
5777 Smith Way St.                      VIA EMAIL:
Commerce, CA 90040                      jbarrett@mccarthyholthus.com        IRS
                                                                            Attn: Attorney General
Stiebrs Farms, Inc                      Strada Capital Corporation          of United States
c/o Janis E. Stiebrs, President         23046 Avenida de la Carlota,        10th Constitution NW #4400
P.O. Box 598                            Ste 350                             Washington, DC 20530
Yelm, WA 98597                          Laguna Hills, CA 92653;
                                                                            IRS
S.E.C.                                  Strada Capital Corporation          Attn: Civil Process Clerk
                                        c/o Christopher Parsons, R.A.       U.S. Attorney
SEC                                     23046 Avenida de la Carlota,        District of Oregon
Attn: Bankruptcy Counsel                Ste 350                             1000 SW 3rd, #600
444 South Flower Street, Suite 900      Laguna Hills, CA 92653              Portland, OR 97204-2936
Los Angeles CA 90071-9591
                                        LCA Bank Corporation                IRS
Secured Creditors:                      1375 Deer Valley Drive, Ste. 218    Centralized Insolvency Operation
                                        Park City UT 84060                  P. O. Box 7346
Citibank, NA                                                                Philadelphia, PA 19101
c/o Barbara Desoer - CEO                LCA Bank Corporation
701 East 60th Street North              c/o Thomas T. Billings,
Sioux Falls, SD 57104                   Registered Agent
                                        15 West South Temple Ste 1700
                                        Salt Lake City, UT 84101

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In re Sunshine Dairy Foods Management, LLC;
Bankruptcy Case No. 18-31644-pcm11 (Lead Case);
In re Karamanos Holdings, Inc.;
Bankruptcy Case No. 18-31646-pcm11
Service List

Oregon Dept. of Revenue:                Columbia Oregon 98th Ave            Sprague Pest Control
                                         Industrial LLC                     PO Box 2222
ODR                                     PO Box 848138-076                   Tacoma, WA 98401
ATTN: Bankruptcy Unit                   Dallas, TX 75284
955 Center St NE                                                            Summit Funding Group, Inc.
Salem, OR 97301                         Elm Services                        Lease Administration Group
                                        PO Box 15270                        PO Box 63-6488
ODR                                     Irvine, CA 92623                    Cincinnati, OH 45263
c/o Ellen Rosenblum, Attorney General
Oregon Department of Justice            Eroad Inc.                          Sunshine DC
1162 Court St, NE                       7618 SW Mohawk Street               16117 SW 98th Ave, Bldg B
Salem, OR 97301-4096                    Tualatin, OR 97062                  Clackamas, OR 97015

U.S. Attorney’s Office:                 Harvest Food Solutions, LLC         TCF Equipment Finance
                                        501 SE Columbia Shores Blvd         11100 Wayzata Blvd #801
U.S. Attorney,                          Suite 525                           Hopkins, MN 55305
District of Oregon                      Vancouver, WA 9866
1000 SW 3rd, #600                                                           Toyota Industries
Portland, OR 97204-2936                 IGI Resources, Inc.                 Attn: Commercial Finance
                                        12124 Collections Center Dr.        PO Box 660926
Non-Debtor Parties to Executory         Chicago, IL 60693                   Dallas, TX 75266
Contracts and Leases:
                                        J&D                                 Toyota Industries
ADS Group                               12300 SE Carpenter Dr.              Attn: Commercial Finance
PO Box 15270                            Clackamas, OR 97015                 PO Box 660926
Irvine, CA 92623                                                            Dallas, TX 75266
                                        KPA Services, LLC
All American First Aid & Safety         PO Box 301526                       Toyota Lift Northwest
16055 SW Walker Rd Ste 196              Dallas, TX 75303                    Attn: Mail Stop 98
Beaverton, OR 97006                                                         PO Box 4100
                                        McKinney Trailer Rentals            Portland, OR 97208
Americold                               12008 Inverness Dr
1440 Silverton Rd.                      Portland, OR 97220                  Toyota Motor Industries
Woodburn, OR 97071                                                          Commercial Finance, Inc.
                                        Pacific Office Automation           PO Box 9050
AR Arena Products, Inc.                 14747 NW Greenbrier Pkwy            Coppell, TX 75019
2101 Mt. Read Blvd                      Beaverton, OR 97006
Rochester, NY 14615                                                         Upward Technology
                                        Pacific Office Automation           2636 NW 26th Ave, Ste 201
Balboa Captial Corp                     PO Box 41602                        Portland, OR 97210
575 Anton Blvd 12th Floor               Philadelphia, PA 19101
Costa Mesa, CA 92626                                                        US Bank Equipment Finance
                                        Pacific Office Automation           PO Box 790448
Beaver Sports Properties, LLC           PO Box 51043                        Saint Louis, MO 63179
c/o Learfield Communications, LLC       Los Angeles, CA 90051
P.O. Box 843038                                                             Verifract
Kansas City, MO 64184                   Paetec                              5301 Blue Lagoon Dr., Ste 180
                                        PO Box 9001013                      Miami, FL 33126
Canon Financial Services                Louisville, KY 40290
14904 Collections Center Drive                                              Wells Fargo Equipment Finance
Chicago, IL 60693                       Penske Truck Leasing Company LP     PO Box 7777
                                        PO Box 7429                         San Francisco, CA 94120
Cintas Corporation - 463                Pasadena, CA 91110-7429
PO Box 650838                                                               Workforce QA
Dallas, TX 75265                        Pitney Bowes Global Financial       1430 South Main Street, Suite C
                                        PO Box 371887                       Salt Lake City, UT 84115
                                        Pittsburgh, PA 15250

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Bankruptcy Case No. 18-31646-pcm11
Service List

Wymore Transfer Company
aka Wy-5
12061 Se Hwy 212
Clackamas, OR 97015

Wymore Transfer Company, Inc
12651 SE Capps Rd
Clackamas, OR 97015

Special Notice:

Scott Laboratories Inc.
Attn: Jill Skoff, Accting Assistant
PO Box 4559
Petaluma, CA 94955

Sorrento Lactalis, Inc.
c/o Phillips Lytle LLP
Attn: Angela Z. Miller
125 Main Street
Buffalo, NY 14203

Electronic Mail:

The foregoing was served on all CM/ECF
participants through the Court's Case
Management/ Electronic Case File system.




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